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                                  UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                      219 SOUTH DEARBORN STREET
                                         CHICAGO, ILLINOIS 60604
THOMAS G. BRUTON
     CLERK                                                                                  312-435-5670




      Date: 11/1/2018                                                   Judge: Jorge L. Alonso
                                                                        Case No.: 1:18-cv-07277
      Dear Counsel:

              Mediation frequently aids in settling trademark disputes and other Lanham Act cases. For that
      reason, the District Court for the Northern District of Illinois established its voluntary mediation program
      in 1996 for Lanham Act cases. The program is Lanham Act case specific and draws on mediators who
      are specialists in such cases. Since its establishment, the Northern District mediation program has
      assisted many parties in resolving their disputes without expending the large amounts of time, effort and
      resources normally involved in full scale litigation.

               You will find enclosed materials describing the Court’s Lanham Act mediation program. They
      include a description of the program, the Local Rules and procedures governing it, and a current list of
      mediators that have been qualified by the Court to mediate Lanham Act disputes. The program has often
      delivered prompt and economical resolutions to disputes, and the Court strongly encourages you and your
      client to take advantage of it.

              The docket indicates that you are appearing as counsel for one of the parties in this litigation.
      Pursuant to this Court’s Rules and procedures, you are required to provide copies of this letter and all
      enclosures to each party you represent. If you represent a plaintiff, you also must provide copies of these
      papers to the attorney for each defendant. The attorney for each defendant then must provide these
      materials to each party that attorney represents. Within 21 days of the date of receipt of this letter, each
      attorney is required to file a Certificate with the Court stating that copies of these documents have been
      provided to the appropriate parties and attorneys.

               The Rules also require that the parties file a Notice with the Court stating whether they will
      participate in the Court’s Lanham Act mediation program. This Notice must be filed at the earlier of the
      first scheduling conference, or 90 days after this case was filed. The Judge to whom this case has been
      assigned has been notified that you have been sent this letter, and will expect you timely to file the
      Certificate and Notice.

               The experience of the Court shows that the program provides tangible benefits to parties in
      resolving their disputes. Many lawyers and their clients have expressed satisfaction with the program,
      and many routinely encourage their clients to submit their disputes to mediation. We urge you and your
      client to proceed with mediation in this case. The best interests of your client would be served thereby.

                                                     Sincerely,

                                                     /S/ Kerwin Posley
                                                     Deputy Clerk




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                                      List of Lanham Act Organizations and Individual Neutrals
                                           Maintained Pursuant to Local General Rule 16.3

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LR16.3.       Voluntary Mediation Program

      (a) PROGRAM ESTABLISHED. A program for voluntary mediation is established for cases
arising under the Federal Trademark Act of 1946, 15 U.S.C. §§ 1051-1127 (“the Lanham Act”).

     (b) PROCEDURES.           The voluntary mediation program shall follow the procedures approved
by the Executive Committee. The procedures outline the responsibilities of counsel and the parties
in cases that are eligible for the mediation program. Copies of the procedures may be obtained from
the clerk.

     (c) CONFIDENTIALITY All mediation proceedings, including any statement made by any party,
attorney or other participant, shall, in all respects, be privileged and not reported, recorded, placed
in evidence, made known to the trial court or jury, or construed for any purpose as an admission. No
party shall be bound by anything done or said at the conference unless a settlement is reached, in
which event the settlement shall be reduced to writing and shall be binding upon all parties.




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
             PROCEDURES FOR VOLUNTARY MEDIATION PROGRAM
                         FOR LANHAM ACT CASES
                      Adopted Pursuant to Local Rule 16.3(b)


I.   Screening and Assignment of Cases.
     A. Pursuant to Local Rule 16.3, cases that are filed under the Federal Trademark Act of 1946,
15 U.S.C. §§ 1051-1127 (the "Lanham Act"), shall be assigned to the program of court-annexed
mediation (Program). Cases that are filed under seal pursuant to local General Rule 10L and cases
that are under seal pursuant to court order shall not be assigned to the Program during the time they
remain under seal. Any time periods specified in these procedures shall be adjusted to exclude
periods when cases are under seal.

     B. Cases shall be assigned to the Program on the basis of information recorded in the Integrated
Case Management System (ICMS). The information used for this purpose will be the nature of suit
and cause of action recorded for each civil case.1 A computer program will be run on a weekly basis
to identify all civil cases filed during the previous week where the cause of action entered in ICMS
is a Lanham Act citation or the nature of suit code entered in ICMS is 840 (i.e., the nature of suit
code for trademark cases).
     C. A member of the staff of the Clerk of Court will check the complaint for each case identified
by the weekly computer program to verify that the complaint indicates that the case has been filed
pursuant to the Lanham Act.

II. Notice of Assignment
     A. For a case assigned to the Program, the Clerk shall provide notice of the assignment to the
attorney who filed the action. If the case was commenced by a party filing pro se, the notice will be
provided to the party. The notice will include a description of the Program. Along with the notice
the Clerk will send a List of Lanham Act Organizations and Neutrals.
     B. The Clerk will notify the judge that the case has been assigned to the Program.
     C. Upon receiving the notice and accompanying material from the Clerk, each attorney notified
as provided for in section II.A above must promptly provide a copy of the notice and accompanying
descriptive material to that attorney’s client and to the attorney for each defendant, if known, or to
each defendant, if the attorney is not known. Defense attorneys must promptly provide copies of the
material they receive to each party they represent.

III. List of Lanham Act Organizations and Neutrals
     A. Maintenance by the Clerk of a List of Lanham Act Organizations and Neutrals
     The clerk of the Court shall maintain and make available to the public a List of Lanham Act
Organizations and Neutrals consisting of the name, address, and telephone numbers of each
organization and person who has filed with the clerk the certificate specified by section C of this
rule, and whose name has not been withdrawn or removed pursuant to section E of this rule. The
clerk shall further maintain and make available to the public a file containing the certificates filed
by those persons whose names are included on the list of mediators. Inclusion on the list does not
constitute certification by the Court of the qualifications of the organization or neutral.


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     B. Minimum Criteria
     No organization or person may file a certificate pursuant to paragraph C below or be included
in the List of Lanham Act Organizations and Neutrals unless such person or organization meets the
following minimum criteria:
     (1) For Organizations:
     a. A minimum of three years involvement with alternative dispute resolution in providing,
        sponsoring or training neutrals; and
     b. Affiliation with two or more individuals who meet the minimum criteria
        set forth below.
     (2) For Individuals:
     a. Five years or more experience in the practice of Lanham Act law; or
     b. Three years or more experience as a neutral (not necessarily in Lanham
        Act law).
     C. Certificates
     An organization may be included in the List of Lanham Act Organizations and Neutrals by filing
with the Clerk of this Court a certificate containing the following information:
     (1) For Organizations:
     a. Name, address, and nature and duration of involvement in alternative dispute procedures and
        activities;
     b. procedures and programs for training individuals in techniques of mediation and
          arbitration;
     c. experience in training such individuals in connection with disputes under the Lanham Act;
     d. experience in providing neutrals to mediate or arbitrate disputes under the Lanham Act;
     e. names and addresses of individuals the organization represents are qualified by experience
        or training, or both, to mediate or arbitrate disputes under the Lanham Act, together with
        copies of their curricula vitae; and
     f. representative cases (including citations to published decisions) in which the organization
        has participated, including the names and addresses of counsel and parties (unless such
        information is deemed confidential).
     (2) For Individuals:
     a. Name, address, and academic and legal education credentials;
     b. years in the practice of Lanham Act law, including trademark and unfair competition law
          and false advertising law;
     c. experience in mediating or arbitrating disputes under the Lanham Act, other intellectual
        property law disputes, or general commercial disputes;
     d. a summary of Law School or C.L.E. courses in Lanham Act subject matter taken or taught,
          including seminars or meetings of the American Bar Association, ALI-ABA, American
          Intellectual Property Law Association, International (formerly The United States)
          Trademark Association, Practicing Law Institute, Chicago Bar Association, or other groups
          or organizations;
     e. membership and committee activity in professional organizations dealing with intellectual
        property law, including the Lanham Act;
     f. publications on Lanham Act or other intellectual property law subject matter;
     g. Any other experience, including litigation experience, he or she believes relevant to serving
          as a neutral;
     h. representative cases (including citations to published decisions) in which the individual has
          participated as a mediator or arbitrator, including the names and addresses of counsel and
          parties (unless such information is deemed confidential); and

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      i. a copy of his or her curriculum vitae.
      D. Amendment and Updating.
      Any organization and individual who files a certificate with the Clerk shall promptly file
amendments to the certificates, whenever necessary or appropriate, to disclose any substantial change
in the information provided in the certificate. In addition, each such organization or individual shall
file a complete, updated certificate at no more than five year intervals.
      E. Withdrawal and Removal from the List of Lanham Act Organizations and
         Neutrals
      Any organization or neutral may voluntarily withdraw from the List of Lanham Act
organizations and neutrals at any time by providing written notification to the clerk of the Court, who
shall thereupon remove the name of the organization or neutral from said List and remove that
organization or neutral's certificate from the file of such certificates. If an organization or neutral
fails to update his, her or its certificate pursuant to section D of this rule, or for good cause as
certified to the clerk by the Chief Judge, the clerk shall remove the name of that organization or
neutral from said List and remove that organization or neutral's certificate from the file of
certificates.

IV. Attorney Certification
     As soon as practicable but in no event later than 21 days after receiving the notice provided
pursuant to section II.A, each attorney for a party shall file with the Clerk a certificate stating that
the attorney has mailed or otherwise provided a copy of the notice and all information about the
Program to each party that the attorney represents in the action, or to the guardian or representative
of each party.

V. Notice of Participation or Non-Participation
     A. Nothing in these Procedures shall be construed to affect the time within which a party is
to answer or otherwise plead to a complaint. If a pleading in lieu of answer, or a motion for a
temporary restraining order or a preliminary injunction is filed before the notice of participation or
non-participation required by subsection B of this section has been filed, the court may fix a new
time by which the parties must file the joint notice, or may find that the case is not appropriate for
the program and excuse the parties from filing the joint notice, or may enter such other order as may
be appropriate. Such action by the court shall be in writing, or on the record.

      The parties in cases assigned to the Program are not required to participate in the Program but
are strongly encouraged to do so. At the earliest of the first scheduling conference, or 90 days from
filing of the complaint, the parties in cases assigned to the Program will file a jointly written notice
indicating one of the following:
        (1)     that they wish to participate in the Program;
        (2)     that they do not wish to participate in the Program; or
        (3)     that they are already participating in some other mediation program.
      B. If the notice indicates that the parties do not wish to participate in the Program, a brief
statement of the reason or reasons must be included in the notice. Such a statement shall not disclose
the position of any individual party concerning participation in the Program. If the notice indicates
that the parties are participating in some other mediation program, the notice must provide a brief
description of the nature of the program.
      C. The judge to whom a case eligible for the Program is assigned may impose sanctions for
failure to notify clients pursuant to paragraph II.C. and/or failure to file the notice pursuant to
paragraphs V.A and B.

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VI. Mediation Procedure
     A. Mediation is a flexible, nonbinding and confidential dispute resolution process in which an
impartial and qualified neutral facilitates negotiations among the parties in an attempt to help them
reach settlement.
     B. The mediation process does not contemplate testimony by witnesses. The neutral does not
review or rule upon questions of fact or law, or render any final decision in the case, but may provide
an opinion on questions of fact or law, or on the merits of the case if the case if requested or if
desirable.
     C. The parties shall select a neutral and obtain the consent of the neutral to act as mediator not
more than 14 days after the filing of the joint notice of participation. The parties may request an
extension of time for good cause shown. The parties may agree to select a neutral from the List of
Lanham Act Organizations and Neutrals provided with the notice of assignment. In the event the
parties wish to participate in the Program, but cannot agree on a panel neutral, the parties may
contact any organization or individual identified in the List, which or who will assist in selecting a
neutral for them.
     D. The neutral shall disqualify himself or herself in any case in which the circumstances listed
in 28 U.S.C. § 455 exist, and would apply if the neutral were a judge.
     E. The neutral shall select a time and a place for the mediation conference, and any adjourned
mediation session, that is reasonably convenient for the parties, and shall give them at least 14 days
written notice of the initial conference. Except as ordered by the court for good cause shown, the date
of the first mediation conference shall be not later than 45 days after the filing of the joint notice of
participation and the date of the last conference shall be not more than 30 days following the first
conference. If the parties settle the case prior to the mediation conference, they shall promptly advise
the neutral and the judge assigned to the case that a settlement has been reached.
     F. The neutral may require the parties to submit memoranda, on a confidential basis and not
served on the other parties, addressing the strengths and weaknesses in that party's case and the terms
that party proposes for settlement.
     G. The following individuals shall attend the mediation conference unless excused by the
mediator:
     (1) each party who is a natural person;
     (2) for each party that is not a natural person, either
         (a) a representative who is not the party's attorney of record and who           has full authority
to negotiate and settle the dispute on behalf of that       party, or
         (b) if the party is an entity that requires settlement approval by a
     committee, board or legislative body, a representative who has authority
     to recommend a settlement to the committee, board or legislative body;
     (3) the attorney who has primary responsibility for each party's case; and
     (4) any other entity determined by the mediator to be necessary for a full resolution of the
     dispute referred to mediation.
     H. Except where a party has been excused as provided for by section VI.H. above, failure of
an attorney or a party to attend the mediation conference as required shall be reported to the assigned
judge and may result in the imposition of sanctions as the judge may find appropriate.

VII.     Reporting on the Program
    A. Within 10 days following the conclusion of the mediation session, the neutral shall file a
concise report with the court disclosing only whether required parties were present and the
disposition of the case, including:
    (1) the case settled;

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      (2) the parties agreed to adjourn for further mediation; or
      (3) the neutral determined that the negotiations are at an impasse.
      B. All written and oral communications made in connection with the mediation conference,
including any statement made by any party, attorney or other participant, shall, in all respects, be
privileged and not reported, recorded, placed in evidence, made known to the trial court or jury, or
construed for any purpose as an admission. No party shall be bound by anything done or said at the
conference unless a settlement is reached, in which event the agreement upon a settlement shall be
reduced to writing and shall be binding upon all parties to that agreement. In addition, the parties are
free to enter confidentiality agreements covering all information disclosed in memoranda and during
the mediation session.

VIII. Costs
     A. Absent agreement to the contrary, the parties shall share equally all costs incurred as a result
of the mediation, including the costs of the neutral's services, except that each party shall be
responsible for its own attorneys' fees.
     B. Neutrals shall be reimbursed for the expenses and compensated by the hourly rate disclosed
by them during the selection process, or as agreed in writing in advance between the neutral and the
parties.

    C. Except as provided in section VIII.B., a neutral shall not charge or accept anything of value
from any source whatsoever for or relating to his or her duties as a neutral.




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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS

                                                (
                                                (   Case Number:
                                                (
                                                (
                                Plaintiff       (   Assigned Judge:
             vs.                                (
                                                (
                                                (   Designated
                                                (   Magistrate Judge:
                                Defendant       (

            JOINT STATEMENT REGARDING PARTICIPATION IN THE
          VOLUNTARY MEDIATION PROGRAM FOR LANHAM ACT CASES

Pursuant to Section V.A. of the procedures for the voluntary mediation program, the undersigned
parties hereby file this joint statement concerning their participation in the program.

    A.    The undersigned will participate in the Court’s mediation program.

    B.    The undersigned will not participate in the Court’s mediation program because not all
          all parties agree to take part in the program.

    C.    The undersigned will not participate in the Court’s mediation program for the reasons
          described in the attached statement.


     D.   The undersigned will participate in another mediation program. (Note: A brief
          statement detailing the nature of the program must be attached.)




             Signature of Plaintiff’s Counsel                Signature of Defendant’s Counsel



               Date                                          Date




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